          Case 3:19-cv-00290-EMC Document 138 Filed 07/16/21 Page 1 of 3



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 6                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
 7
                        SAN FRANCISCO-OAKLAND DIVISION
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      AMERICAN CIVIL LIBERTIES
10    UNION FOUNDATION, et al.,                Case No. 19-CV-00290-EMC
11                 Plaintiffs,                 JOINT STATUS REPORT
12
            v.
13
      DEPARTMENT OF JUSTICE, et al.,
14
15                 Defendants.
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17
           In accordance with the Court’s instructions provided at the July 2, 2021
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     motion hearing, the parties provide a joint update following their conferral on the
19
     scope of Defendant U.S. Immigration and Customs Enforcement’s (ICE) search for
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     records responsive to Plaintiff’s FOIA request.
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           ICE intends to perform a supplemental search for records responsive to
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     Plaintiffs’ FOIA request, including any additional social-media monitoring policy
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     records, social-media monitoring contracts, and communications about those
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     contracts. The parties intend to further confer about the scope of ICE’s past search,
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     including the relevance of ICE’s Enforcement and Removal Office (ERO) contract
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     to use Thomson Reuters CLEAR technology, and the supplemental search, in the
27
     hopes of reaching an agreement and avoiding further litigation on these issues.
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                                    JOINT STATUS REPORT
                                   CASE NO. 19-CV-00290-EMC
         Case 3:19-cv-00290-EMC Document 138 Filed 07/16/21 Page 2 of 3



 1         In light of ICE’s forthcoming supplemental search, the parties stipulate that
 2   the adjudication of Plaintiffs’ challenge to the adequacy of ICE’s search be
 3   suspended pending ICE’s completion of the supplemental search and processing
 4   and production of responsive documents. The parties further stipulate that the
 5   Court may adjudicate the remaining issues in the parties’ cross-motions before
 6   ICE’s supplemental search and productions are complete.
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 8                                       Respectfully submitted,
 9    DATED: July 16, 2021                 /s/ Hugh Handeyside          H
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28                                         /s/ Vinita B. Andrapalliyal
                                               2
                                    JOINT STATUS REPORT
                                   CASE NO. 19-CV-00290-EMC
     Case 3:19-cv-00290-EMC Document 138 Filed 07/16/21 Page 3 of 3


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                            JOINT STATUS REPORT
                           CASE NO. 19-CV-00290-EMC
